Case 4:14-cv-00136-ALM-CAN Document 34 Filed 03/28/17 Page 1 of 9 PageID #: 502



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION


 ALEJANDRO CASILLAS PRIETO                      §
                                                §               CIVIL ACTION NO. 4:14CV136
 v.                                             §               CRIMINAL NO. 4:10CR169(1)
                                                §
 UNITED STATES OF AMERICA                       §


                                     ORDER OF DISMISSAL

        The above-entitled and numbered civil action was referred to United States Magistrate

 Judge Christine A. Nowak. The Report and Recommendation of the Magistrate Judge (Dkt. 32),

 which contains proposed findings of fact and recommendations for the disposition of such action,

 has been presented for consideration. The Magistrate Judge concluded that Prieto fails to carry his

 burden under Strickland v. Washington, 466 U.S. 668, 687, 104 S. Ct. 2052 (1984), and

 accordingly, his ineffective assistance of counsel claim fails. The Report recommends that Prieto’s

 Motion to Vacate, Set Aside, or Correct Sentence be denied and the case dismissed with prejudice.

 Prieto has filed written Objections (Dkt. 33). Having made a de novo review of the Objections, the

 Court concludes that the findings and conclusions of the Magistrate Judge are correct, and adopts

 the same as the findings and conclusions of the Court.

        In his Objections, Prieto maintains he is entitled to relief under § 2255 because he received

 ineffective assistance of counsel during the plea bargaining process. He objects specifically to the

 following four (4) of the Magistrate Judge’s findings of fact:

        (1) the Government’s witnesses are more credible than Prieto (Dkt. 33 at 1-7);

        (2) Prieto was advised in terms he could understand that, by refusing the Government’s

        plea offers, he faced a life sentence should he lose at trial (id. at 7-8);

                                                    1
Case 4:14-cv-00136-ALM-CAN Document 34 Filed 03/28/17 Page 2 of 9 PageID #: 503



        (3) Prieto was given sufficient advice of the strengths and weaknesses of the Government’s

        case to make an informed decision regarding whether to accept a plea bargain or proceed

        to trial (id. at 8-9); and

        (4) the record does not establish that Prieto would have accepted any of the Government’s

        plea offers (id. at 9-10).

 Each of the disputed findings of fact rests on the Magistrate Judge’s determination of the credibility

 of the witnesses presented at the evidentiary hearing. Thus, at the heart of each of Prieto’s

 objections is a contention that his testimony at the evidentiary hearing, his affidavit, and the

 assertions in his pleadings are more credible than contrary assertions of fact by the Government’s

 witnesses. Prieto asks the District Court to reconsider the evidence, reject the Magistrate Judge’s

 credibility determination, and conclude he is more credible than the Government’s witnesses

 and/or evidence.

        Under 28 U.S.C. § 636(b)(1)(B), a district judge may “designate a magistrate to conduct

 hearings, including evidentiary hearings, and to submit to a judge of the court proposed findings

 of fact and recommendations for the disposition, by a judge of the court,” of “dispositive” motions.

 See United States v. Raddatz, 447 U.S. 667, 673, 100 S. Ct. 2406 (1980). The statute further

 provides:

        A judge of the court shall make a de novo determination of those portions of the
        report or specified proposed findings or recommendations to which objection is
        made. A judge of the court may accept, reject, or modify, in whole or in part, the
        findings or recommendations made by the magistrate. The judge may also receive
        further evidence or recommit the matter to the magistrate with instructions.

 28 U.S.C. § 636(b)(1)(C) (emphasis added). By its terms, § 636(b)(1)(C) grants the district court

 broad discretion to accept or reject the magistrate’s findings; however, this discretion is not

 unlimited.


                                                   2
Case 4:14-cv-00136-ALM-CAN Document 34 Filed 03/28/17 Page 3 of 9 PageID #: 504



        Under the terms of the statute, the district court may accept the credibility determination

 of the magistrate after reviewing the record, without conducting an independent hearing. See

 United States v. Scribner, 832 F.3d 252, 260 (5th Cir. 2016) (vacating the district court’s denial of

 a § 2255 motion because the decision was based on implicit rejection of the magistrate’s credibility

 finding without a hearing; explaining that, on remand, the district court was free to accept the

 magistrate’s credibility determination without holding a hearing, or in the alternative, reject the

 magistrate’s determination and come to its own conclusion after a hearing); Louis v. Blackburn,

 630 F.2d 1105, 1109 (5th Cir. 1980) (“a district judge may accept a magistrate's findings

 concerning credibility and not violate due process.”); see also United States v. Marshall, 609 F.2d

 152, 155 (5th Cir. 1980) (“a district judge who reviews the record of the hearing before the

 magistrate and adopts the magistrate's recommendations need not conduct a new hearing.”). In

 contrast, a district court’s discretion to reject a finding of the magistrate is limited where:

        (1) the finding is based on the credibility of the witnesses the magistrate heard, and
        (2) the finding is dispositive of an application for post-conviction relief involving
        the constitutional rights of a criminal defendant. In Blackburn [the Fifth Circuit]
        held that in such circumstances the district judge cannot reject the finding without
        personally hearing live testimony from the witnesses whose testimony is in issue.

 Jordan v. Hargett, 34 F.3d 310, 313 (5th Cir. 1994), on reh'g en banc, 53 F.3d 94 (5th Cir. 1995);

 see also Scribner, 832 F.3d at 259 (explaining that a district judge may not reject the credibility

 finding of a magistrate judge without holding a new evidentiary hearing); Garcia v. Boldin, 691

 F.2d 1172, 1179 n. 13 (“Where the district judge makes material credibility choices at variance

 with those of the magistrate, the judge must, at least in certain cases, have a hearing at which he

 or she personally hears the testimony.”); Blackburn, 630 F.2d at 1110 (“If the district judge doubts

 the credibility determination of the magistrate, only by hearing the testimony himself does he have

 an adequate basis on which to base his decision.”).



                                                    3
Case 4:14-cv-00136-ALM-CAN Document 34 Filed 03/28/17 Page 4 of 9 PageID #: 505



         Having made a de novo review of the record, including the transcript of the evidentiary

 hearing, the Court is of the opinion that the Magistrate Judge’s credibility determination is correct.

 It is apparent from the Report that the Magistrate Judge found much of Prieto’s testimony to be

 implausible. In particular, the Magistrate Judge concluded Prieto’s credibility was undermined by

 his claims that: (1) he chose to follow the legal advice of his attorney’s associate, even though it

 directly contradicted the ardent advice of his attorney of record; (2) he did not understand the

 meaning of “conspiracy” as charged in the Indictment, and no one explained it to him at any point

 between his August 6, 2010, arrest and his July 11, 2012, sentencing; (3) a probation officer

 misconstrued Prieto’s statement encouraging a codefendant to take responsibility for other,

 uncharged, criminal activity as encouragement to take responsibility for Prieto’s part in the drug

 conspiracy alleged in the Indictment. See Dkt. 32 at 13-14.

        Instead of reconciling the inconsistent and implausible assertions in his own testimony,

 Prieto’s Objections focus on the relative credibility of the Government’s witnesses, Rafael De la

 Garza, Marston Alexander, and Special Agent Heriberto Quiroga. See Dkt. 33 at 6. Prieto points

 to the length of De la Garza, Alexander, and Quiroga’s careers and the volume of criminal cases

 they have each handled over the years as indicia that their recollection of specific events in this

 case is unreliable. See id. Prieto further contends that, since this case represents his first and only

 involvement in the criminal justice system, his memory of events is clearer. See id. However,

 De la Garza, Alexander, and Quiroga specifically recalled occasions when one or more of them

 advised Prieto of his sentencing exposure, and each testified to the use of several discrete Spanish

 terms to render this advice. See Dkt. 31 at 52-53, 70, 77-78, 92. In light of De la Garza, Alexander,

 and Quiroga’s unequivocal testimony regarding the events at issue in this case, Prieto’s argument

 regarding deficiencies in the witnesses’ memories is pure speculation.



                                                   4
Case 4:14-cv-00136-ALM-CAN Document 34 Filed 03/28/17 Page 5 of 9 PageID #: 506



         Moreover, Prieto’s argument regarding the length of the Government witnesses’ careers in

 criminal justice is further unavailing because, while De la Garza, Alexander, and Quiroga each

 testified regarding their general practices and extensive experience related to interviewing and

 advising Spanish-speaking criminal defendants, these same witnesses also testified regarding

 specific advice given to Prieto during pretrial negotiations. See id. at 48-59, 60-62, 69-70, 73-74,

 77-78, 83, 85-86. De la Garza, in particular, recalled specific details and events related to his

 representation of Prieto, as well as the basis for his recollection and his general practices in similar

 cases. De la Garza testified:

         Q Can you describe for us what words in Spanish you used to tell this defendant
         that he was facing a potential life sentence?
         A Originally the term that I always use to tell someone that they are looking at a
         life sentence is la vida, which means life. I would also tell people that you're going
         to die in jail basically, because you're in there for life, la vida --
         Q Okay. Hold on. That you're going to die in jail?
         A Correct.
         Q How do you say --
         A I would say it, vas a morir en la carcel. In jail.
         Q Basically --
         A Slang.
         Q Can you spell that?

         A Not at this time I can't.
         Q Okay. So in Spanish you would say you're going to die in jail?
         A Correct.
         Q Now you said that that is generally how you would handle it in your practice.
         Can you describe what you told Mr. Prieto?
         A It would go from either la vida or vas a morir. Mostly it would be la vida, because
         that's the way we always say life imprisonment. Then on one of the occasions, the
         month prior to trial where we were going back and forth with plea offers between
         Ernest Gonzalez and the defendant, I took -- I met the interpreter, Luis Garcia at


                                                    5
Case 4:14-cv-00136-ALM-CAN Document 34 Filed 03/28/17 Page 6 of 9 PageID #: 507



        the jail and I asked him to come in and translate for me because I wanted to make
        sure there were no misunderstandings and that he understood that that particular
        plea offer -- the government was agreeing to charge him with a new offense of alien
        in possession of a firearm, number one. That he would have to waive jurisdiction
        because the jurisdiction would have been in the Northern District, and that he was
        looking at a two and a half year plea deal. Two and a half years. And that he was
        still looking at life imprisonment if we were to proceed to trial. And if we came in
        second place, then the likelihood is this judge would give him life sentence.
         Q And you told him that in Spanish?
         A No, I told him that in English using the interpreter that we had. And that is the
         first time that I believe he ever heard us using the phrase car[]dena perpetua, which
         is life imprisonment formally.
         Q Okay. And before that, you say that you had used the more -- what you describe
         I think as a slang term, la vida.
         A Life.
         Q Your life?
         A Correct.
         Q Or you're going to die in prison?
         A Correct. Being more graphic, letting him know that he was not going to get out.
         He was not going to parole out or anything like that in the federal system.
         Q Okay. So he was told using the two slang terms, but then also once Mr. Garcia,
         the court interpreter or translator assisted you, the more formal term, ca[]dena
         perpetua.
         A Correct.

 Dkt. 31 at 57-59. On cross-examination, De la Garza clarified that he had a specific recollection

 of the events of this case, which stood out to him because he “couldn't believe [Prieto] was rejecting

 [the Government’s] plea offers.” Id. at 70.

         The plea offers proffered to Prieto were admittedly favorable. However, ample evidence

 in the record reflects that Prieto rejected such offers, not because he did not understand they were

 favorable, or his potential sentence at trial; but, rather, because Prieto did not desire to be deported

 or removed from the United States. The evidence reflects that Prieto “was in the country illegally



                                                    6
Case 4:14-cv-00136-ALM-CAN Document 34 Filed 03/28/17 Page 7 of 9 PageID #: 508



 and he had no standing to be in this country.” Dkt. 31 at 59-60. Alexander attested by Affidavit,

 that “Mr. Prieto stated that he could not accept the [plea] offer because he did not want to be

 deported.” Dkt. 19 at 2. De la Garza similarly testified that Prieto ignored his advice to enter a

 guilty plea and proceeded to trial because Prieto feared deportation. Dkt. 31 at 59-60. De la Garza

 explained at the hearing that Prieto was advised “if he was going to enter into a plea agreement,

 that one of the consequences of signing a plea agreement would be deportation;” Prieto chose to

 proceed to trial so that he could remain in the United States. Id. at 60. Against this backdrop, the

 Court concludes that the Government witnesses’ testimony is bolstered, not undermined, by their

 long involvement in the criminal justice system, particularly in light of their ability to state with

 certainty how their conduct in Prieto’s case was reflective of their usual and habitual practice in

 similar cases.

        Finally, the Court finds it compelling that De la Garza, Alexander, and Quiroga each

 testified that they personally communicated Prieto’s sentencing exposure to him on several distinct

 occasions, using varied Spanish phrases, but nearly always employing the word “vida.” Prieto does

 not challenge the Magistrate Judge’s finding that:

        based on Prieto’s affidavit and testimony, his purported comprehension of Spanish
        translations of “life imprisonment” hangs on the Spanish word “vida”—the literal
        translation of the word “life.”

 Dkt. 32 at 15. And the Magistrate Judge correctly observed:

        [T]his case involved court interpreters, a defense team, a prosecuting attorney, and
        an investigating federal agent who were all fluent in Spanish. Three (3) of these
        individuals testified that they personally advised Prieto of his sentencing exposure
        prior to trial; moreover, they stated they employed the term “vida,” which Prieto
        admitted he would have understood as “life.” De la Garza stated he specifically
        used the phrase “la vida” (“life”), along with “vas a morir en la carcel” (“you’re
        going to die in jail”). Id. at 56-57 (emphasis added). Alexander testified that Prieto’s
        sentencing exposure was conveyed as: “podrias pasar el resto de tu vida en la
        carcel” (“you could spend the rest of your life in jail”). Id. at 78 (emphasis added).
        Special Agent Quiroga testified that he used “cadena perpetua” at the first proffer


                                                   7
Case 4:14-cv-00136-ALM-CAN Document 34 Filed 03/28/17 Page 8 of 9 PageID #: 509



        session, but later advised Prieto that he faced “la vida en la carcel” (“life in jail”).
        Id. at 92 (emphasis added).

 Id. at 15-16.

        Although Prieto testified he would have used the term “vida en prisión” to indicate life

 imprisonment, De la Garza, Alexander, and Quiroga could not have heard his testimony, as the

 witnesses were sequestered during Prieto’s examination. See Dkt. 31 at 9, 44-45, 80. Furthermore,

 Prieto did not make this assertion in his pleadings or affidavit. Under the circumstances, the

 Government’s witnesses had no opportunity to conform their testimony to Prieto’s purported

 understanding before testifying. Prieto concedes, “[i]t may be that Alexander and Special Agent

 Heriberto Quiroga had little to gain by corroborating some of De la Garza’s claims.” Dkt. 33 at 6.

 On review of the record at the evidentiary hearing, the Court tends to agree.

        In conclusion, the Magistrate Judge found much of Prieto’s testimony to be implausible.

 Further, each of the Government’s witnesses not only testified to their usual and ordinary course

 of interacting with Spanish-speaking clients, but recalled specific details and events concerning

 Prieto’s case and their efforts to convince Prieto to plead guilty pursuant to the favorable plea

 offers. It is clear that De la Garza advised Prieto he faced a life sentence if he proceeded to trial.

 As for Prieto’s reasoning in declining the favorable plea offers, it is particularly telling that he

 greatly feared deportation should he accept a guilty plea. Finally, each of the Government

 witnesses personally communicated Prieto’s sentencing exposure to him.

        In light of the foregoing, the Court accepts the Magistrate Judge’s finding that the

 Government’s witnesses are more credible than Prieto. Prieto does not request a new evidentiary

 hearing and the Court finds no reason to conduct an independent hearing in this case. Furthermore,

 since each of Prieto’s Objections rests on his contention that the Magistrate Judge’s credibility

 finding is erroneous, his Objections lack merit.


                                                    8
    Case 4:14-cv-00136-ALM-CAN Document 34 Filed 03/28/17 Page 9 of 9 PageID #: 510




.           It is therefore ORDERED that Movant’s Objections (Dkt. 33) are OVERRULED. It is

     further ORDERED that the Motion to Vacate, Set Aside or Correct Sentence (Dkt. 1) is

     DISMISSED with prejudice. A certificate of appealability is DENIED. All motions by either

     party not previously ruled on are hereby DENIED.

          SIGNED this 28th day of March, 2017.




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                                       AMOS L. MAZZANT
                                       UNITED STATES DISTRICT JUDGE




                                                  9
